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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:11CR71
                              )
          v.                  )
                              )
ALBERTO VILLALBA-LOPEZ and    )                  ORDER
JAIRO ALVARADO-REFUGIO,       )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on plaintiff’s motion

to withdraw (Filing No. 117).       The Court finds the motion should

be granted.   Accordingly,

           IT IS ORDERED that plaintiff’s motion to withdraw

sealed Filing No. 99 is granted.        Said filing is deemed

withdrawn.

           DATED this 8th day of February, 2017.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
